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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                              FORT LAUDERDALE DIVISION

   CONSUMER FINANCIAL PROTECTION
   BUREAU,

                        Plaintiff,
                                                                     Case No. _______
   v.                                                    (Related to Civil Action No. 17-cv-01323-
                                                                         MN (DE))
   THE NATIONAL COLLEGIATE MASTER
   STUDENT LOAN TRUST, et al.,

                       Defendants.

              BOSTON PORTFOLIO ADVISORS, INC.’S OBJECTIONS TO AND OPPOSED MOTION
                                TO QUASH NON-PARTY SUBPOENA

           COMES NOW Boston Portfolio Advisors, Inc. (“BPA”), a non-party to the above

  referenced litigation, through its undersigned counsel, and respectfully requests that the Court

  quash the non-party subpoena pursuant to Federal Rule of Civil Procedure 45(d)(3)(A). In support

  of its request, BPA states as follows:

         I.     Introduction

           BPA is a financial consulting firm based in Fort Lauderdale, Florida that has been

  providing portfolio management, risk management, and due diligence, among other services, to

  the financial industry for over thirty years. See, Declaration of Thomas Glanfield (“Decl.”) at ¶3,

  attached as Exhibit A. BPA employs 18 professionals, and occasionally uses the services of

  independent contractors to assist with particular projects. See, Decl. at ¶4.

           BPA is not a party in the above referenced litigation, but was served with a non-party

  subpoena duces tecum on December 21, 2018 (“Subpoena”). See, Decl. at ¶5. The Subpoena was

  served on BPA in connection with a Scheduling Order issued in the underlying litigation. See,

  Decl. at ¶6.


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         The Subpoena at issue in this motion, which was served on BPA on December 21, 2018,

  seeks testimony on subjects and production of documents outside the two threshold issues

  specifically outlined within the Scheduling Order. The two threshold issues, as articulated within

  the Scheduling Order are as follows:

         1. Whether the law firm of McCarter & English had the authority to execute the
            Proposed Consent Judgment on behalf of the Defendants under the Trust
            Related Agreements and applicable law; and

         2. Whether – authority aside – it was improper or (in violation of the Trust Related
            Agreements) for McCarter & English to enter into the Proposed Consent
            Judgment.

  The Scheduling Order specifically limits deposition testimony and document requests to these two

  threshold issues. See, Scheduling Order at ¶¶1-3.

         However, the Subpoena seeks information far beyond those limited threshold issues

  outlined by the court. More specifically, the Subpoena seeks testimony by oral deposition on the

  following three topics:

         1. The Proposed Consent Judgment;

         2. The nature of BPA’s engagement with the NCSLTs, including the extent to
            which BPA was engaged to advance the interests of VCG, the NCSLTs, the
            Noteholders and Ambac; and

         3. Any work performed by BPA in connection with any audits of the NCSLTs or
            in connection with the Proposed Consent Judgment.

  Likewise, the Subpoena seeks discovery of the following documents:

     1. All documents and communications concerning the Investigation, the Action, and
        the Proposed Consent Judgment that related to the Threshold Issues set forth in the
        Scheduling Order, including:

             a. Any information or communications exchanged between the CFPB, on the
                one hand, and VCG, McCarter & English, Chaitman LLP, DiCello Levitt &
                Casey LLC, BPA, or any other entities representing or purporting to
                represent the NCSLTs or VCG, or any of their principals or representatives,
                on the other hand;


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             b. Any information or communications exchanged between BPA, on the one
                hand, and VCG, Chaitman LLP, McCarter & English, DiCello Levitt &
                Casey LLC, or any other entities representing or purporting to represent the
                NCSLTs or VCG, or any of their principals or representatives, on the other
                hand;

             c. Any work performed by BPA in connection with the Proposed Consent
                Judgment, including any audits of the NCSLTs or in connection with the
                Proposed Consent Judgment;

             d. The nature of BPA’s engagement with the NCSLTs, including the extent to
                which BPA was engaged to advance the interests of VCG, the NCSLTs, the
                Noteholders and Ambac; and

             e. The negotiation of the Proposed Consent Judgment.

         BPA does not have any knowledge or documents regarding either of the threshold issues.

  See, Decl. at ¶11. However, the Subpoena attempts to circumvent the Scheduling Order and

  requests this information regardless of whether or not it is related to the two threshold issues.

         Specifically, BPA objects to the Subpoena’s attempted disregard of the limitations placed

  on discovery by the Scheduling Order. BPA estimates that thousands of documents will need to

  be reviewed in order to determine what is responsive to the Subpoena which would take months

  to compile and cost more than one hundred and fifty thousand dollars to complete. See, Decl. at

  ¶12 and ¶17. The burdensome requests come regardless of the fact that many of the documents in

  question are also protected by work product and attorney client privilege and the fact that BPA has

  no documents whatsoever or information pertaining to the finite threshold issues outlined within

  the Scheduling Order.

         As a result, responding to the Subpoena will be exceptionally burdensome for a company

  of BPA’s size. In light of the privilege concerns set forth herein, the privilege and responsiveness

  review of any and all potentially relevant documents must be conducted by attorneys. Additionally,

  the reviewing attorneys will be required to prepare a privilege log documenting any privilege


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  assertions, which will potentially require additional time and expense.

         BPA specifically objects to deposition topic #1 as it is overly broad as it exceeds the scope

  of the Scheduling Order’s threshold issues and vague in that it has not provided a copy of the

  Proposed Consent Judgment. Likewise, BPA objects to deposition topic #2 as it is overly broad as

  it exceeds the scope of the Scheduling Order’s threshold issues and vague in that it does not define

  the terms “Noteholders” or “Ambac.” With respect to deposition topic #3, BPA objects as it is

  overly broad and seeks testimony beyond the scope of the Scheduling Order’s threshold issues and

  vague in that it has not provided a copy of the Proposed Consent Judgment.

         Moreover, BPA also objects to the request for documents. BPA objects to request #1 in

  that it is overly broad and unduly burdensome as it exceeds the scope of the Scheduling Order’s

  threshold issues, compound in that it requires at least four separate responses, and protected by

  both the work product and attorney client privileges. BPA objects to request #1a in that it is overly

  broad and unduly burdensome as it exceeds the scope of the Scheduling Order’s threshold issues,

  compound in that it requires at least five separate responses, and protected by both the work

  product and attorney client privileges. BPA objects to request #1b in that it is overly broad and

  unduly burdensome as it exceeds the scope of the Scheduling Order’s threshold issues, compound

  in that it requires at least four separate responses, and protected by both the work product and

  attorney client privileges. BPA objects to request #1c in that it is overly broad and unduly

  burdensome as it exceeds the scope of the Scheduling Order’s threshold issues, compound in that

  it requires at least two separate responses, and protected by both the work product and attorney

  client privileges. BPA objects to request #1d in that it is overly broad and unduly burdensome as

  it exceeds the scope of the Scheduling Order’s threshold issues, compound in that it requires at

  least four separate responses, vague in that it does not define the terms “Noteholders” or “Ambac,”



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  and protected by both the work product and attorney client privileges. BPA objects to request #1e

  in that it is overly broad and unduly burdensome as it exceeds the scope of the Scheduling Order’s

  threshold issues and protected by both the work product and attorney client privileges.

         Since the Subpoena was served, BPA’s counsel has conferred in good faith with the

  attorney that issued the Subpoena and offered to produce an affidavit sating that BPA had no

  knowledge or documents related to the two threshold issues outlined by the Scheduling Order, but

  was not able to reach resolution as to the issues described herein. BPA respectfully requests that

  the Court quash the Subpoena.

       II.   Discussion

          The Court should quash the Subpoena for two reasons: (1) the Subpoena imposes an undue

  burden on BPA, a non-party to the litigation; and (2) the subpoena seeks production of material

  that is privileged and protected.

             A. The Subpoena Imposes an Undue Burden on BPA

          Under Federal Rule of Civil Procedure 45(d)(3)(A)(iv), a court must quash or modify a

  subpoena that “subjects a person to undue burden.” “Among the factors that the court may consider

  in determining whether there is an undue burden are ‘relevance, the need of the party for the

  documents, the breadth of the document request, the time period covered by it, the particularity

  with which the documents are described and the burden imposed.’” Williams v. City of Dallas, 178

  F.R.D. 103, 109 (N.D. Tex. 1998) (citing Concord Boat Corp. v. Brunswick Corp., 169 F.R.D. 44,

  49 (S.D.N.Y. 1996) (in turn quoting United States v. International Bus. Machs. Corp., 83 F.R.D.

  97, 104 (S.D.N.Y. 1979))); see also, Am. Online, Inc. v. Bagley, No. 05-22399-CIV, 2005 WL

  8155872, at *2 (S.D. Fla. Nov. 1, 2005); see also, Am. Fed'n of State, Cty. & Mun. Employees

  (AFSCME) Council 79 v. Scott, 277 F.R.D. 474, 478 (S.D. Fla. 2011). Further, additional factors



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  such as “whether the request is cumulative and duplicative, the time and expense required to

  comply with the subpoena (relative to the responder’s resources), and the importance of the issues

  at stake in the litigation.” Carroll v. Variety Children’s Hosp., 2007 WL 2446553, at *1 (E.D.

  Tex. Aug. 23, 2007). Where, as here, the subpoena recipient is a non-party, courts have focused

  on “the expense and inconvenience to that party.” Wiwa v. Royal Dutch Petroleum, 392 F.3d 812,

  818 (5th Cir. 2004); see also, TIC Park Ctr. 9, LLC v. Cabot, No. 16-24569-CIV, 2017 WL

  3099317, at *2 (S.D. Fla. Apr. 12, 2017). In particular, courts have provided additional protection

  to non-parties in order to curtail unreasonable cost and expense. See, Rankine v. Roller Bearing

  Co. of Am., No. 12CV2065-IEG BLM, 2013 WL 3992963, at *3 (S.D. Cal. Aug. 5, 2013)(citing,

  United States v. C.B.S., 666 F.2d 364, 371–72 (9th Cir.1982)).

         The Subpoena plainly imposes an undue burden on BPA, a non-party to the underlying

  litigation. The Subpoena seek thousands of documents from BPA notwithstanding that many of

  these documents may be in the possession of one of the parties to the litigation. Accordingly,

  noteholders should be required to seek these documents from the litigation parties. This is

  particularly true where, as here, BPA has reason to believe that the noteholders are simultaneously

  seeking the same documents from other parties, including the litigation parties. “[T]he expense

  and the inconvenience” to BPA, when the noteholders can obtain the materials from the litigation

  parties, strongly counsel in favor of quashing the non-party Subpoena. See, e.g., SEC v. Brady,

  238 F.R.D. 429, 437 (N.D. Tex. 2006).

         Additionally, as noted above, reviewing thousands of potentially responsive documents

  would impose an incredible burden on BPA. “Whether a subpoena constitutes an undue burden is

  to be decided based on the facts of each case.” Carroll at *3 (citing Williams at 109). As noted in

  Carroll, courts have also considered “the time and expense required to comply with the subpoena



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  (relative to the responder’s resources)[.]” Id. at 4 (quoting Linder v. Calero-Portacarrero, 180

  F.R.D. 168, 174 (D.D.C. 1998); see also, Am. Online, Inc. at *3. Reviewing the requested

  documents and preparing a privilege log would take an extraordinary amount of time and would

  impose unreasonable costs and efforts on BPA, as attorneys would be required to conduct the

  review in light of the privilege concerns at issue, infra. Under the circumstances, the Subpoena is

  unreasonable and must be quashed.

             B. The Subpoena Seeks BPA’s Privileged Materials and Information

         To the extent the Subpoena seek documents not obtainable from parties to the litigation,

  the court should quash the Subpoena on the independent ground that it seeks BPA’s internal work

  papers protected by the work product privilege and communications protected by the attorney

  client privilege. Federal Rule of Civil Procedure 45(d)(3)(A)(iii) requires a court to quash or

  modify a subpoena that “requires disclosure of privileged or other protected matter.” Federal Rule

  of Civil Procedure 26(b)(3)(A)’s work product privilege provides that “a party may not discover

  documents and tangible things that are prepared in anticipation of litigation or for trial by or for

  another party or its representative.” Pursuant to relevant precedent, a document is prepared in

  anticipation of litigation and thus entitled to work product protection “as long as the primary

  motivating purpose behind the creation of the document [is] to aid in possible future litigation.”

  United States v. Davis, 636 F.2d 1028, 1040 (5th Cir. 1981). 1 The “litigation need not necessarily

  be imminent,” Id. at 1040, but the “prospect of litigation must be identifiable.” In re Sahlen &

  Assocs., Inc., No. 89-6308-CIV-HOEVELER, 1990 WL 284508, at *3 (S.D. Fla. Nov. 5, 1990)

  (citing Kent Corporation v. National Labor Relations Bd., 530 F.2d 612 (5th Cir. 1976)).



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   Cases decided prior to the split of the Fifth Circuit into the Fifth and Eleventh Circuits constitute
  precedent in the Eleventh Circuit. See, Bonner v. City of Prichard, 661 F.2d 1206, 1207 (11th Cir.
  1981).

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         The documents prepared by BPA during the period of time and among the topics requested

  in the Subpoena fall squarely within the work product protection. Specifically, BPA was

  represented by McCarter & English, LLP involving matters concerning VCG Securities, LLC. See,

  Decl. at ¶13. That representation later evolved to McCarter & English, LLP’s simultaneous

  representation of BPA in connection with this action. Accordingly, these documents and

  communications contain BPA’s and McCarter & English, LLPs mental impressions related to this

  and other actions and are protected by the work product privilege and attorney client privilege.

  See, In re LTV Sec. Litig., 89 F.R.D. 595, 614-19 (N.D. Tex. 1981). Moreover, the work product

  privilege covers both final documents and draft materials. See, Adelman v. BSA, 276 F.R.D. 681,

  690 (S.D. Fla. 2011). As such, these documents and communications should remain protected and

  the Subpoena should be quashed.

             C. Sanctions Should be Imposed for Seeking Information and Materials Beyond the

                 Threshold Issues Outlined in the Scheduling Order

         Under Federal Rule of Civil Procedure 45(d)(1), a court must sanction an attorney or party

  for issuing a subpoena imposing an undue burden on the person receiving the subpoena. Such a

  sanction may include “lost earnings and reasonable attorney’s fees.” Id. As discussed above, the

  Subpoena clearly attempts to deliberately circumvent the limited issues permitted by the

  Scheduling Order. BPA has previously articulated that it does not have any knowledge or

  documents regarding these two threshold issues. As also discussed above, BPA has outlined how

  the Subpoena’s additional discovery is irrelevant to the threshold issues and would cause undue

  burden and cost to the corporation. If such additional and irrelevant discovery is to be compelled

  by the noteholders, then the noteholders should pay for the additional cost, attorney’s fees and lost

  earnings associated with compliance.



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  III.   Request for Hearing

         BPA respectfully requests an oral hearing in connection with this matter pursuant to Local

  Rule 7.1(b)(2). BPA believes that a hearing would be beneficial should the Court require further

  information in connection with the background of the above referenced litigation and Scheduling

  Order, the parties involved with the Subpoena, the costs involved with complying with the

  Subpoena, and the various requests and objections. This hearing should not take longer than 30

  minutes. This additional information should prove helpful to the Court in making its decision.

   IV.   Conclusion

         The Subpoena served on BPA subjects BPA to undue burden and seeks BPA’s privileged

  work product and attorney client communications. Accordingly, BPA respectfully requests that

  this Court grant the motion, and quash the Subpoena.

         WHEREFORE, BPA moves the Court to quash the Subpoena, or in the alternative modify

  the Subpoena, granting BPA an extension of time to respond to the modified Subpoena and order

  the noteholders to pay for BPA’s lost earnings, attorney’s fees and additional costs associated with

  compliance with a modified Subpoena.

         Respectively submitted this 4th day of January 2019,

                                                /s/ John B. Atkinson
                                                JOHN BOND ATKINSON
                                                Florida Bar No.: 0290270
                                                jatkinson@atkattorneys.com
                                                JOHN B. ATKINSON
                                                Florida Bar No.: 0099691
                                                atkinsonjb@atkattorneys.com
                                                Atkinson, P.A.
                                                1 S.E. 3rd Avenue, Suite 2100
                                                Miami, Florida 33131
                                                Tel. 305-376-8840
                                                Fax. 305-376-8841




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                         CERTIFICATE OF PRE-FILING CONFERENCE

   Pursuant to Local Rule 7.1(a)(3), I certify that, in a good faith effort to resolve the issues raised in

   this motion, counsel for BPA conferred or attempted to confer with counsel for the noteholders,

   Andrew D. Cordo, Esq. about the relief sought in this motion. On December 31, 2018, BPA’s

   counsel offered counsel for the noteholders an affidavit stating that BPA had no knowledge or

   documents related to the two threshold issues outlined by the Scheduling Order. Counsel for the

   noteholders indicated that an affidavit would not be satisfactory and that compliance with the

   Subpoena would need to include documents and information unrelated to McCarter & English’s

   execution of the Proposed Consent Judgment. Counsel for noteholders also confirmed that an

   extension to comply with the Subpoena would be opposed unless certain conditions were met and

   that the noteholders would oppose any Motion to Quash or objection to the Subpoena requests.

   Dated: January 4, 2019                          Respectfully Submitted,
                                                   /s/ John B. Atkinson
                                                   JOHN B. ATKINSON




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                                   CERTIFICATE OF SERVICE

          I hereby certify that the foregoing Motion to Quash was filed on the 4th day of January

   2019 through the ECF filing system and will be sent electronically to the registered participants as

   identified on the Notice of Electronic Filing. Additionally, the foregoing will be

   contemporaneously served on the following parties by electronic mail:


   Carolyn I. Hahn, Esq.                                   Kurt M. Heyman, Esq.
   Colin T. Reardon, Esq.                                  Melissa N. Brochwicz Donimirski, Esq.
   Gabriel S.H. Hopkins, Esq.                              Erik Hass, Esq.
   1625 Eye Street NW                                      George A. LoBiondo, Esq.
   Washington, DC 20006                                    Joshua Kipness, Esq.
   Ph: (202) 435-7250                                      Peter W. Tomlinson, Esq.
   Fax: (202) 435-7722                                     300 Delaware Avenue, Suite 200
   E-mail: carolyn.hahn@cfpb.gov                           Wilmington, DE 19801
           colin.reardon@cfpb.gov                          Ph: (302) 472-7300
           gabriel.hopkins@cfpb.gov                        Fax: (302) 472-7320
   Counsel for Consumer Financial Protection               E-mail: kheyman@hegh.law
   Bureau                                                          mdonimirski@hegh.law
                                                                   ehass@pbwt.com
   A. Thompson Bayliss, Esq.                                       globiondo@pbwt.com
   20 Montchanin Road, Suite 200                                   jkipnees@pbwt.com
   Wilmington, DE 19807                                            pwtomlinson@pbwt.com
   Ph: (302) 778-1033                                      Counsel for Ambac Assurance Corporation
   Fax: (302) 778-1001
   E-mail: bayliss@abramsbayliss.com                       Allyson B. Baker, Esq.
   Counsel for Structured Finance Industry                 Jamie L. Edmonson, Esq.
   Group, Inc.                                             Katherine M. Wright, Esq.
                                                           Meredith L. Boylan, Esq.
   David M. Fry, Esq.                                      Sameer P. Sheikh, Esq.
   Keith M. Kollmeyer, Esq.                                1201 N. Market Street, Suite 1400
   1105 North Market Street, 12th Floor                    Wilmington, DE 19801
   Wilmington, DE 19801                                    Ph: (302) 298-3535
   Ph: (302) 298-0700                                      E-mail: abaker@venable.com
   E-mail: dfry@shawkeller.com                                     jledmonson@venable.com
          kkollmeyer@jonesday.com                                  kmwright@venable.com
   Counsel for U.S. Bank National Association                      mlboylan@venable.com
                                                                   spsheikh@venable.com
                                                           Counsel for Transworld Systems Inc.




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   Andrew D. Cordo, Esq.                            Stacey A. Scrivani, Esq.
   Michael Hanin, Esq.                              Elizabeth Ware, Esq.
   Uri Itkin, Esq.                                  Nicholas H. Pennington, Esq.
   500 Delaware Avenue, 8th Floor                   919 N. Market Street, Suite 1300
   P.O. Box 1150                                    Wilmington, DE 19801
   Wilmington, DE 19899                             Ph: (302) 425-3306
   Ph: (302) 654-1888                               E-mail: sasc@stevenslee.com
   E-mail: acordo@ashby-geddes.com                          eaw@stevenslee.com
            mhanin@kasowitz.com                             nhp@stevenslee.com
            uitkin@kasowitz.com                     Counsel for The Pennsylvania Higher
   Counsel for Waterfall Eden Master Fund,          Education Assistance Agency
   Ltd.
                                                    Stephen B. Brauerman, Esq.
   Rebecca L. Butcher, Esq.                         600 N. King Street, Suite 400
   919 Market Street, Suite 1800                    Wilmington, DE 19801
   P.O. Box 2087                                    Ph: (302) 655-5000
   Wilmington, DE 19899                             Fax: (302) 658-6395
   Ph: (302) 467-4400                               E-mail: sbrauerman@bayardlaw.com
   E-mail: butcher@lrclaw.com                       Counsel for Wilmington Trust Company
   Counsel for GSS Data Services, Inc.




                                              /s/ John B. Atkinson
                                             John B. Atkinson
